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COUNSEL FOR SUN HONG FOODS, INC.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

SUN HONG FOODS, INC.,
Plaintiff,
VS.

UTOPIA FOODS, INC. and
DOES 1-50, each individually,

Defendants.

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Case No.:

Jury Trial Requested

COMPLAINT

Conversion

Viol. of Lanham Act — Misbranding

Viol. of Lanham Act — Trademark

Viol. of Lanham Act — Trade Dress

Viol. of P.A.C.A -Unfair Conduct

Viol of CAB & P §17500

Viol. of CAB & P §17200

Trade Libel

Negligence
. Int. Interf. Prospective Econ. Advantage
. Negl. Interf. Prospective Econ. Advantage
. Injunctive Relief

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COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES
For its Complaint for damages, restitution, civil penalty, and injunctive relief,

the plaintiff respectfully states as follows:

 

THE PARTIES

1, Sun Hong Foods, Inc. (“Plaintiff’ or “Sun Hong”), is a California
corporation with its principal place of business located at 1105 W Olympic Blvd, |
Montebello, CA 90640.

2. Sun Hong trades in fresh fruit and vegetable commodities the United
States Department of Agriculture (“USDA”) expressly recognizes as commodities
covered under the provisions of the Perishable Agricultural Commodities Act, 1930,
as amended, 7 U.S.C. §§ 499a-499t (2021) (“PACA”).

3. Sun Hong buys and sells wholesale quantities of perishable agricultural
commodities (hereinafter “Produce’’) in both interstate and foreign commerce.

4, At all times relevant hereto Sun Hong operated its business under a valid

USDA issued PACA License, which the USDA has identified as License number

20160693.

5. As a PACA licensee, Sun Hong operated as a “dealer” of Produce as
defined by PACA.

6. Sun Hong, currently and throughout all of 2022, purchases or sources

Enoki Mushrooms from the Republic of Korea and sells the same in the United

States.

 
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| 7. Sun Hong does not buy or sell Enoki mushrooms from China, and has
not done so since November of 2021.

8. Sun Hong has neither sold nor distributed Chinese Enoki mushrooms in
| the United States since December of 2021.

9. Defendant, Utopia Foods, Inc., d/b/a Utopia Produce (hereafter
“Utopia” or “Defendant’), is a New York corporation with a principal place of
business located at 83-18 72nd Dr, Glendale, NY 11385. Utopia

a. sold or distributed, directly or indirectly, Produce (i.e., Enoki
mushrooms) in California, Missouri, Maryland, and other states;

b. committed certain statutory violations and tortious acts, as set forth
herein, within the State of California; and,

c. sold and distributed misbranded Produce falsely identifying Sun Hong
as the distributor of Produce Utopia sold and distributed to its customers
within, inter alia, the State of California and in the ordinary course of
its Produce business.

10. Utopia buys and sells wholesale quantities of Produce in both interstate
and foreign commerce.

11. At all relevant times hereto, Utopia traded in fresh fruit and vegetable
commodities, which the USDA expressly recognizes as commodities covered under

the provisions of PACA

 

 
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12.  Atall times relevant hereto, Utopia operated its business under a USDA
issued PACA License, which the USDA has identified as License number 20221083.

13. As a PACA licensee, Utopia operated as a “dealer” of Produce as
defined by PACA.

14. At all tumes herein mentioned, each of the Defendants, including Does
One through Fifty, was the agent, servant, and employee of the other defendants, and
was acting at all times within the scope of his/her agency and with the knowledge
and consent of each other. Doe defendants includes all persons, entities, companies,
joint ventures, or any entity of any type, who acted to propagate, increase, sell, or
otherwise cause distribution of the wrongfully packaged enoki mushrooms into
commerce.

15. Utopia and all Does [hereinafter defined as ““Defendants”’], and each of
them, at all times herein mentioned, acted jointly and in concert and conspired and
agreed to do the things hereinafter specified; and each and all of the things hereinafter
alleged to have been done by the defendants or any of them, were done as co-
conspirators and thus, as agents for each other, as well as in their respective individual
capacities to advance their own individual interests.

16. If and when appropriate, Plaintiff will amend this Complaint or seek
leave of Court to amend this complaint for the purpose of pleading the names and

capacity of presently unknown Doe Defendants.

 
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JURISDICTION AND VENUE

 

17. The District Court has subject matter jurisdiction over this civil action
arising under 28 U.S.C. § 1331, Federal Question Jurisdiction, because this matter
involves questions concerning the interpretation and application of multiple federal
statutes.

18. First, the District Court has subject matter jurisdiction over this civil
action arising pursuant to the Federal Food, Drug, and Cosmetic Act (“FIDCA”) (21
U.S.C. § 301, et seg.), which prohibits and makes illegal the actions taken by
Defendant Utopia as described herein.

19. Second, the District Court has subject matter jurisdiction over this civil
action arising under PACA, 7 U.S.C. § 499e(b)(2) (“liability may be enforced by ...
suit in any court of competent jurisdiction....”).

20. Third, the District Court has subject matter jurisdiction over this civil
action arising under 15 U.S.C. § 1125(a) and (the “Lanham Ac?’)(prohibiting any
act which “[i]s likely to cause confusion, or to cause mistake, or to deceive as to the
affiliation, connection, or association of such person with another person, or as to the
origin, sponsorship, or approval of his or her goods, services, or commercial activities
by another person,” 15 U.S.C. § 1125(a)(1)(A)).

21. The District Court also has subject matter jurisdiction over this civil

action pursuant to 28 U.S.C. § 1337 because the FDCA, PACA, and Lanham Act

 
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each qualify as an “Act of Congress regulating commerce” and Plaintiffs claims
herein arise under 21 U.S.C. § 301, 7 U.S.C. § 499, and 15 U.S.C. § 1125.

22. The Court has supplemental jurisdiction over Plaintiff's other claims
pursuant to 28 U.S.C. § 1367(a).

23. The Court has in rem jurisdiction over the Plaintiff's claims pursuant to,
inter alia, 28 U.S.C. § 1655.

24. Venue in this district is based on 28 U.S.C. § 1391(b) because:

a. the case concerms the health and safety of all California citizens,
including those residing in the Central District;

b. a substantial part of the events or omissions giving rise to Plaintiff's
claims occurred in this district and a substantial part of the property that
is the subject of this action is or was situated within this district;

c. Sun Hong is located in and operates its business in the Central District
of California, and;

d. Utopia has illegally sold misbranded/mislabeled food products bearing
Sun Hong’s packaging and Sun Hong’s Trade Dress, Trade Name,
Branding, Labeling, and Packaging in this district.

NATURE OF THE CASE

25. This civil action concerns inter alia violations by Defendant Utopia of

 

 
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the FDCA, 21 U.S.C. § 301 et seg.,! PACA, 7 U.S.C. 499(b)(4) & (5)’, the Lanham
Act, 15 U.S.C. § 1125, et. seg.?, California’s Unfair Trade Practices Act, Cal. Bus. &
Prof. Code §§ 17200, 17500, et. seq.,4 and California’s Sherman Law, Cal. Health &
Saf. Code, § 110100, et. seq. (the “Sherman Law’’)

26. Defendant Utopia has violated and continues to violate these statutes

and continues to commit other tortious acts by introducing into the stream of

 

' The Federal Food, Drug, and Cosmetic Act (FDCA) (21 U.S.C. § 301 et seq.)
prohibits the misbranding of any food (21 U.S.C. § 331(b)). A food is deemed

| misbranded under the FDCA if its labeling is false or misleading in any particular

(21 U.S.C. § 343(a)).
* PACA prohibits the misbranding of perishable agricultural commodities (7
U.S.C.S. § 499b(5)) and unfair trade practices by PACA registered entities (7
U.S.C.S. § 499b(4)).
> Lanham Act 15 U.S.C. § 1125(a)&(b) prohibits the use of “any word, term, name,
symbol, or device, or any combination thereof,” and “false or misleading description
of fact, or false or misleading representation of fact, which is likely to cause
confusion, or to cause mistake, or to deceive as to the affiliation, connection, or
association of such person with another person, or as to the origin, sponsorship, or
approval of his or her goods, services, or commercial activities by another person”,
or “in commercial advertising or promotion, misrepresents the nature, characteristics,
qualities, or geographic origin of his or her or another person’s goods, services, or
commercial activities” Lanham Act 15 U.S.C. §1127 prohibits adoption of a trade
dress confusingly similar to a competitor's.
‘ California’s Business and Professional Code §17200 prohibits “any unlawful, unfair
or fraudulent business act or practice and unfair, deceptive, untrue or misleading
advertising” and “Plaintiffs may assert their Sherman Law violation under Business
& Professions Code § 17200. Jackson v. Balanced Health Prods., No. C 08-05584
CW, 2009 U.S. Dist. LEXIS 48848, at *17 (N.D. Cal. June 10, 2009).
> The Sherman Food, Drug, and Cosmetic Law (the “Sharman Law”) prohibits
misbranding of Produce, misuse of another’s trade name, misuse of another’s
packaging and labeling, and counterfeiting of another’s packaging and trade name.
Cal. Health & Saf. Code, §§ 110100, 110290, 110300, 110320, and 110330. The
Sherman law states that “[a]ny food is misbranded if its labeling is false or misleading
in any particular.”

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commerce and selling Enoki mushrooms from China illegally packaged in Plaintiff |
Sun Hong’s packaging.

27. Utopia’s Enoki are misbranded and sold in packaging that is
counterfeited, stolen, improperly acquired, and/or used without the permission or
consent of Sun Hong.

28. Utopia has infringed and continues to infringe upon Sun Hong’s
unregistered trademark and trade dress, as well as to engage in unfair business
practices, as defined under the Lanham Act, PACA, and California’s Business and
Professional Code.

29. Utopia’s illegal actions have caused, and will continue to cause,
consumer confusion as well as harm to Sun Hong’s business operations, reputation,
and goodwill.

30. Making matters both worse and more urgent, both the state of
Missouri’s Department of Health and the state of Maryland’s Department of Health,
as confirmed by the U.S. Food & Drug Administration (the “F'DA”’) and tracked by
the Center for Disease Control and Prevention (the “CDC”), have recently
determined the presence of the deadly bacteria Listeria monocytogenes (“Listeria”)
in Utopia’s Enoki mushrooms imported from China.

31. Listeria is a foodborne illness that may be lethal or especially harmful
if you are pregnant, aged 65 or older, or have a weakened immune system.

32. On December 13, 2022, the FDA published a public notice regarding
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Utopia’s voluntary recall of certain of its Chinese Enoki packaged in “a 200g, clear |
and blue plastic package with brand name ‘Utopia’ and barcode 8928918610017
marked on the packaging.”

33. Utopia voluntarily recalled certain of its Chinese Enoki Mushrooms,
which Utopia shipped nationwide, in December of 2022 because of the potential to
be contaminated with Listeria monocytogenes.

34. On December 17, 2022, the FDA issued an advisory alert that the “FDA
Advises Restaurants and Retailers Not to Serve or Sell and Consumers Not to Eat
Product Labeled as Sun Hong Foods, Inc. Enoki Mushrooms Sourced from China
Due to Possible Listeria Contamination.”

35. On January 13, 2023, the FDA published a public notice regarding the
expansion of Utopia’s voluntary recall of certain of its Enoki Mushrooms, imported
from China, with clear and blue plastic packages.

36. Utopia expanded its voluntarily recall of its Chinese Enoki Mushrooms,
which Utopia distributed in New York, New Jersey, and Connecticut to produce
wholesale companies for further distribution, in January of 2023 because of the
potential to be contaminated with Listeria monocytogenes.

37. FDA and certain state health departments collected and tested samples
of Utopia’s enoki mushrooms and reported positive test results for Listeria
monocytogenes.

38. On January 27, 2023, the FDA published a public notice advising
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restaurants and retailers not to serve or sell and consumers not to eat product labeled
as Sun Hong Foods, Inc. enoki mushrooms sourced from China due to possible
Listeria contamination.

39. For the safety and health of California citizens, and to protect Sun
Hong’s business operations, reputation, and goodwill, Sun Hong asks this Honorable |
Court to permanently enjoin Utopia from selling or distributing Produce in Sun
Hong’s packaging.

FACTUAL AVERMENTS

40. Sun Hong has been an importer and distributor of Enoki mushrooms for
almost ten years, and it distributes Enoki nationwide.

41. Sun Hong is distributor of Enoki, and is well-known amongst
wholesalers and retailers with Asian-centric customer bases.
Sun Hong’s Dealings with Chinese Enoki

42. Prior to November of 2021, Sun Hong purchased and distributed Enoki
mushrooms from Shandong Youhe Biotechnology Co. Ltd. (“Shandong’’) in China.

43. In November 2021, Sun Hong ended its relationship with Shandong
following Sun Hong’s voluntary recall of Shandong supplied Enoki mushrooms on
or about May 28, 2021 due to the potential for the product to be contaminated with
Listeria monocytogenes.

44. Sun Hong elected to end its relationship with Shandong to protect its

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reputation and to ensure the safety of the products it sells to its customers.

45. Prior to the termination of its commercial relationship with Shandong,
Sun Hong had provided Shandong with plastic bags in 200-gram and 150-gram sizes,
labeled with Sun Hong’s name and brand, indicating the contents of Enoki
mushrooms and their source and nutritional value. These bags also clearly indicate
that the Enoki mushrooms are a product of China. Shandong used these bags to pack
Enoki mushrooms for Sun Hong.

46. In November of 2021, when Sun Hong terminated its relationship with
Shandong, Shandong had hundreds of thousands of Sun Hong branded bags, which
Sun Hong paid for, had been printed in China, and were being used by Shandong to
pack Enoki mushrooms for Sun Hong.

47. Sun Hong estimates that Shandong possessed over 600,000 unused Sun
Hong branded enoki bags at the time Sun Hong terminated its relationship with
Shandong.

48. Following Sun Hong’s termination of its relationship with Shandong,
Sun Hong specifically instructed Shandong to destroy the Sun Hong branded Enoki
mushroom bags, and not put them into the stream of commerce.

49. Sun Hong is informed and believes that Shandong is selling and/or
exporting to Utopia Foods, and that Utopia Foods is receiving and/or importing Enoki
mushrooms from Shandong, packaged in Sun Hong branded Enoki mushroom bags.

50. At all times relevant hereto, Utopia was, and may still be, distributing
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Enoki mushrooms from China packaged in Sun Hong branded and labeled packaging
nationwide and without Sun Hong’s knowledge or consent.
Sun Hong’s Dealings with Korean Enoki

51. Beginning in December of 2021, Sun Hong has only imported Enoki

mushrooms from the Republic of Korea, not from China.

 

52. Since January of 2022, Sun Hong has only purchased and sold Enoki |
mushrooms grown in the Republic of Korea, which are all clearly marked or
identified as a product of Korea distributed by Sun Hong.

53. Since early August of 2022, Sun Hong has only sold Enoki mushrooms
which have been tested and are traceable to FDA approved laboratory tests,
indicating the absence of Listeria and other bacteria. Sun Hong has tested with FDA
approved laboratory tests in order to insure to protect its reputation, and to insure
listeria free sale and distribution of Enoki mushrooms from Korea on a shipment-by-
shipment basis.

Sun Hong’s Discovery of Misbranded/Mislabeled Enoki in California

54. In September of 2022, Sun Hong discovered that Sun Hong branded
packages of Enoki mushrooms were for sale at SF Supermarket Inc. stores, located
in both West Covina and Sacramento, California.

55. SF Supermarket Inc. is not a customer of Sun Hong and did not purchase
or receive Enoki mushrooms from Sun Hong.

56. SF Supermarket Inc. carried and was selling Sun Hong branded bags of
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Enoki mushrooms labeled as “product of China.”

57. Sun Hong immediately recognized that the packaging on the shelves at
SF Supermarket Inc. was the packaging retained by Shandong.

58. On September 6, 2022, Sun Hong contacted the FDA and notified them
of the alleged misbranding/mislabeling incident it discovered in California and
provided pictures and information regarding the same.°
Utopia’s Distribution of Chinese Enoki

59. Based upon recently published FDA and CDC notices, Sun Hong is
informed and believes that Utopia is presently selling and distributing, and continues
to sell and distribute, Enoki from China that is wrongfully labeled, misbranded, and
contains the deadly bacteria Listeria monocytogenes.

60. The FDA and various state agencies have confirmed the presence of
Listeria in Enoki mushrooms distributed and sold nationwide by Utopia and other
Produce wholesalers.

61. Currently, Sun Hong has no commercial relationship with Utopia, and

has never had any commercial or other direct trade or financial relationship with

 

6 21 US.C.S. § 331, expressly prohibits (a) the introduction or delivery for
introduction into interstate commerce of any food, drug, device or cosmetic that is
adulterated or misbranded; (b) the adulteration or misbranding of any food, drug,
device or cosmetic in interstate commerce; (c) the receipt in interstate commerce of
any food, drug, device or cosmetic that is adulterated or misbranded and the delivery,
or proffered delivery, thereof for pay or otherwise; (d) the introduction, or delivery
for introduction, into interstate commerce of any article in violation of § 344 or 355
of this title.
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Utopia.

62. Sun Hong has never permitted or authorized Utopia to use its packaging,
its brand name, its identifying marks, or its label.

63. Utopia has never asked Sun Hong for permission to use any of Sun
Hong’s packaging, its brand name, its identifying marks, or its label.

Utopia’s Distribution of Contaminated Enoki in Missouri

64. On December 13, 2022, Missouri’s Department of Health and Senior
Services’ Bureau of Environmental Health Services (“MDH”) performed a Listeria
test on Enoki mushrooms being sold at Hong Kong Market, which is located in
Columbia, MO 65201, and the sampled product tested positive for Listeria.

65. The photographs and Listeria analysis from the Missouri Department of
Health demonstrate that the Hong Kong Market was selling Enoki mushrooms from
China packaged in both Utopia and Sun Hong branded packaging.

66. The Sun Hong branded Enoki mushroom packaging found in the Hong
Kong Market in Columbus, MO was identical to the packaging Sun Hong located tn
California in September of 2022. Specifically, both instances involved Sun Hong’s
packaging that was retained by Shandong and wrongly distributed in California and
throughout the country. Sun Hong is informed and believes that the wrongful
distribution of the Chinese Enoki mushrooms in the Sun Hong packaging is due to
the actions of Utopia.

67. Sun Hong does not sell, and has not sold, Chinese Enoki to the Hong
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Kong Market in Columbus, MO. Sun Hong has not sold any Enoki mushrooms from
China for more than a year.

68. Because MDH found Chinese Enoki packaged in Sun Hong
branded/labeled bags for sale in the Hong Kong Market in Columbus, MO, On
December 17, 2022, the FDA issued a health advisory alert regarding enoki |
mushrooms sourced from China and packaged in bags identifying Sun Hong as the
distributor.

69. The FDA notified Sun Hong that it intends to issue further warnings and
request recalls of the contaminated Enoki mushrooms from China.

70. In December of 2022, the FDA contacted Sun Hong asking Sun Hong
to issue a similar “Company Notice” to the one that Utopia issued recalling all of Sun
Hong’s Chinese Enoki.

71. Sun Hong communicated to the FDA that it could not recall any Chinese
Enoki because Sun Hong does not sell or distribute Chinese Enoki, and has not for
more than a year.

72. In its communication with the FDA, Sun Hong reminded the FDA
representatives of its September email notice/complaint regarding its discovery that
Utopia Foods appeared to be selling Chinese Enoki mushrooms in California illegally
packaged in Sun Hong packaging.

73. On December 17, 2022, the FDA issued an “Alerts, Advisory and Safety

Information” which stated in part:
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On November 28, 2022, Missouri state partners, as a part of the
FDA-funded Laboratory Flexible Funding Model Cooperative
Agreement Program collected enoki mushroom samples from
retail markets in Missouri. One sample labeled as Sun Hong
Foods Inc, (Montebello, CA) and sourced from China tested
positive for Listeria monocytogenes, but does not appear to
match any clinical isolates from active outbreaks.

FDA Actions - The FDA is issuing this alert advising consumers
to not eat and restaurants and food retailers to not sell Sun Hong
Foods Inc. enoki mushrooms sourced from China due to
possible Listeria monocytogenes contamination. FDA is also
advising consumers, restaurants and food retailers to dispose of
Sun Hong Foods Inc. enoki mushrooms sourced from China.

The FDA is awaiting information on further interstate
distribution of the enoki mushrooms and will continue to

monitor the investigation and provide assistance to state
authorities as needed.

Utopia’s Distribution of Contaminated Enoki in Maryland

74. On January 25, 2023, the Maryland Department of Health issued a
consumer advisory for Enoki mushrooms that warned “consumers not to eat enoki
mushrooms produced by Shandong Youhe Biotechnology Co. Ltd. in Shandong
Province, China because of potential contamination with Listeria bacteria.”

75. The Maryland Department of Health confirmed that it collected and
tested samples of Enoki mushrooms which demonstrated that the mushrooms were
produced in China and tested positive for Listeria.

76. OnJanuary 27, 2023, the FDA reported on the results of a whole genome
sequencing analysis of the contaminated Enoki mushroom samples collected in

Missouri and Maryland and determined that the two strains of Listeria detected on

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the enoki mushroom products were the same strains of Listeria linked to the reported |
illnesses in the ongoing outbreak investigation.

77. As withthe sampled Enoki mushroom product found in Columbus, MO,
the Maryland Department of Health test samples included Enoki mushrooms from
China packaged in clear plastic packages with a brown and green label and includes
a label on the back that identifies Shandong as the producer and Sun Hong as the
distributor.

78. Based on the Maryland Department of Health’s description of its test
samples of Chinese Enoki mushrooms, Sun Hong recognizes the packaging as the
same packaging wrongfully retained by Shandong.

79. Sun Hong continues to receive notifications from, and is continuing to
have to interact with, the FDA concerning the sale and distribution of Sun Hong
branded enoki mushrooms from China, which Sun Hong did not put into the chain of
commerce.

80. Sun Hong additionally continues to be required to use its resources to
correct the problems caused by Utopia and third parties wrongfully using Sun Hong’s
packaging.

COUNT I
Conversion as to All Defendants

81. Plaintiff Sun Hong re-alleges, adopts, and incorporates Paragraphs 1-80

of this Complaint as though restated here in full.

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82. Plaintiff Sun Hong owned and had all possessory rights in the Sun Hong
branded enoki mushroom bags.

83. Defendants wrongfully, and without Sun Hong’s knowledge or
permission, took possession, custody, or control of the Sun Hong’s now Enoki
mushroom packaging identifying Sun Hong as the U.S. distributor of Enoki
mushrooms grown by Shandong in China.

84. Defendants knew or should have known that Sun Hong neither agreed
to permit nor allowed Defendants to use any Sun Hong branded enoki mushroom
bags for any purpose.

85. Sun Hong was harmed by Defendants use of the Sun Hong branded
enoki mushroom bags.

86. Due to Defendants use of the Sun Hong branded enoki mushroom bags,
Sun Hong has been mentioned in FDA missives identifying listeria outbreaks, Sun
Hong has had to respond to FDA audits and inquiry activities, suffered loss of value
of its brand name, has expended monies and efforts to stop the unauthorized use of
the Sun Hong branded bags, and suffered expenses related to the wrongful use of Sun
Hong branded bags which it had asked be destroyed.

87. Defendants conduct in using the Sun Hong branded enoki mushroom
bags was a substantial factor in causing Sun Hong harm.

88. Defendants actions, in knowingly using Sun Hong branded Enoki

mushroom bags without Sun Hong’s permission or agreement, were actions
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undertaken with malice, oppression and fraud.
WHEREFORE, Plaintiffs pray for damages as set forth in the prayer below;

COUNT II
Lanham Act Violation for Unfair Competition, Misbranding,
False Import, and False Advertising, 15 U.S.C. § 1125(a)
(Strict Liability- Damages) (All Defendants)

89. Plaintiff Sun Hong re-alleges, adopts, and incorporates Paragraphs 179
of this Complaint as though restated here in full.

90. Defendants, in violation of the Lanham Act, used and continues to use,
in commerce, “false and/or misleading descriptions of fact,” which are “likely to
cause confusion or to cause mistake,” in “commercial advertising or promotion.

91. Specifically, the Defendants use and continue to use, Sun Hong branded
Enoki mushroom bag indicating that Sun Hong is selling Chinese grown enoki
mushrooms in the United States.

92. Sun Hong is not selling Chinese grown enoki mushrooms in the United
States.

93. Defendants use of Sun Hong bags which Sun Hong ordered destroyed,
to market Chinese grown enoki mushrooms, has caused false and misleading
descriptions of facts.

94. The sale in the United States of Enoki mushrooms grown in China using
Sun Hong branded bags is very likely to cause confusion or mistake, and has in fact

caused such confusion or mistake, in that Sun Hong is now the subject of

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investigation by the FDA and various state health departments and Sun Hong’s name
has been publicly identified by multiple government sources as a seller of Enoki
mushrooms grown in China which are subject to recall for Listeria contamination.
| All of these events have occurred at a time after Sun Hong ceased all sales of Chinese
| grown enoki mushrooms in the United States.

95. Defendants’ actions directly violate the Lanham Act prohibitions
against wrongful use of misleading descriptions and facts as to items in commerce.

96. Defendants’ sale of product using packaging with Sun Hong’s brand
name on it, was false and misleading, as Sun Hong is not selling Sun Hong branded
Chinese grown enoki mushrooms at this time, in the United States.

97. Sun Hong is informed and believes that Defendants’ deceptive action in
using, supplying, or selling Chinese Enoki mushrooms packaged in Sun Hong
branded packaging to its customers (e.g., Produce wholesalers, retailers, etc.) was
likely to influence purchasing decisions, and was material in influencing purchasing
decisions.

98. Defendants’ conduct resulted in actual deception as the FDA has issued
multiple public health advisories regarding the Listeria outbreak involving Chinese
Enoki mushrooms and has repeatedly identified Sun Hong by name.

99. As further evidence that Defendants’ conducted resulted in actual
deception, the FDA has not been able to identify, locate, or produce a single purchase

invoice, bill of lading, or related shipping document tracing any of the Chinese Enoki
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| widely distributed its Chinese Enoki mushrooms, packaged in Sun Hong branded

 

mushrooms involved in the current Listeria outbreak (i.e., Nov. of 2022 — January of |
2023) back to Sun Hong, notwithstanding the statements on the Chinses Enoki
mushroom packaging identifying Sun Hong as the distributor.

100. Defendants caused the wrongfully Sun Hong branded packages of Enoki
mushroom to be placed in the stream of commerce, with Sun Hong branded Chinese
Enoki mushroom packages being sold or distributed by Defendants in Missouri,
California, Maryland, and other states.

101. As reported by the FDA and various state departments of health, Utopia

packaging, in the stream of commerce across the United States.

102. Defendants willfully, purposefully, and intentionally placed the
wrongfully packaged, misbranded goods into the stream of commerce, and continues
to do so.

103. Utopia has willfully, purposefully, and intentionally failed or refused to
remove the misbranded, falsely packaged produce from the stream of commerce.

104. Defendants’ actions have caused Sun Hong significant and actual harm,
including but not limited to the following: 1) harm to Sun Hong’s reputation, 2)
continuing harm to Sun Hong as the FDA continues to issue nationwide health
advisories naming Sun Hong as a source of the listeria contamination, 3) Sun Hong
has been required to expend significant funds in order to limit or mitigate damage to

its brand name, its costs and related matters.
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_manufactured or sold by others and to indicate the source of the goods, even if that

 

105. Plaintiff Sun Hong requests this Court enjoin Defendants from
continuing use of Sun Hong branded bags.
WHEREFORE, Plaintiffs pray for damages as set forth in the prayer below;

COUNT il
Lanham Act Violation for Trademark Infringement, 15 U.S.C. § 1125(a)
(Strict Liability- Damages)

106. Plaintiff Sun Hong re-alleges, adopts, and incorporates Paragraphs 1-
105 of this Complaint as though restated here in full.

107. By using stolen or misappropriated Sun Hong packaging, Utopia has
infringed Sun Hong’s protectible interest in its unregistered trademark over its own
name and labelling.

108. The Lanham Act, 15 U.S.C. § 1125 et seg., makes “actionable the

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deceptive and misleading use of marks” “to protect persons engaged in... commerce
against unfair competition.” § 45, 15 U.S.C. § 1127. Section 43(a) protects
qualifying unregistered trademarks.
109. The Lanham Act protects companies that own unregistered trademarks.
110. A trademark is defined in 15 U.S.C. § 1127 as including “any word,

name, symbol, or device or any combination thereof” used by any person “to identify

and distinguish his or her goods, including a unique product, from those

source is unknown.”

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111. Sun Hong's unregistered trademark to its name and labelling is both
descriptive and distinctive because it is prima facia distinctive of the identity of Sun
Hong’s “goods in commerce.” Stated simply, there is no other or better way for
consumers to recognize that a product is in fact sold by Sun Hong other than the
product being labeled as “Sun Hong.”

112. Defendants and Sun Hong each target buyers with Pan-Asian centric
customers and sell Enoki mushrooms to those same customers as direct or indirect
competitors.

113. Utopia has plainly and obviously infringed on Sun Hong’s protectible
trademark by, inter alia, stealing or misappropriating Sun Hong’s Chinese Enoki
mushroom packaging, which identifies Sun Hong by name and contains its contact
information, and placing into the stream of commerce a product identical to that
which Sun Hong previously sold (i.e., Enoki mushrooms from China).

114. Defendant Utopia has willfully, purposefully, and intentionally placed
packaged goods that infringe upon Sun Hong’s protected, unregistered trademark
into the stream of commerce in California and throughout the United States.

115. Defendant Utopia has willfully, purposefully, and intentionally refused
to remove the infringing products from the stream of commerce.

116. By selling or distributing Enoki mushrooms packaged in Sun Hong
branded and labeled packaging, Utopia makes false or misleading statements

concerning a competitor’s product (here Sun Hong’s product).
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117. Actual deception occurred, as there is no possible way for a consumer |
to buy an infringing Utopia product, marked as Sun Hong Chinese Enoki, with
knowledge that it is actually a Utopia product.

118. Utopia’s trademark infringement and deception are material. Sun Hong
has brand-loyal customers (both re-sale customers, like grocery stores, and
consumers) who will certainly and obviously be confused and misled by Utopia’s
trademark infringement.

119. Plaintiff Sun Hong was injured, because Defendants willfully, falsely,
and unlawfully sold and continue to sell infringing products in the interstate stream
of commerce causing damages to Sun Hong.

WHEREFORE, Plaintiffs pray for damages as set forth in the prayer below;

COUNT IV

Lanham Act Unfair Competition - Federal Trade Dress Infringement
15 U.S.C. §1125 and 1127
(Strict Liability- Damages) (All Defendants)

120. Plaintiff Sun Hong re-alleges, adopts, and incorporates Paragraphs 1-
119 of this Complaint as though restated here in full.

121. Defendant Utopia has willfully, purposefully, and intentionally placed
Produce into the stream of commerce that exactly copies, or is, Sun Hong’s trade
dress.

122. The product Utopia is selling— Enoki mushrooms— 1s the same as that

which Sun Hong sells, and Utopia is (obviously) utilizing the same trade dress as Sun

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| Hong.

123. Sun Hong and Utopia are competitors in the same market for sales of
imported Enoki mushrooms. Both are nationwide sellers, and the relation of the
products (imported Enoki) are nearly identical.

124. The trade dress is identical because Utopia has either willfully stolen or
willfully and exactly counterfeited Sun Hong’s packaging.

125. The strength or novelty of Sun Hong’s trade dress, when it is copied
exactly, is beyond dispute. Simply stated, the trade dress clearly, obviously, and
strongly identifies Sun Hong as the importer and seller/distributor.

126. Utopia has willfully engaged in this behavior in bad faith, supported by
the facts that it will not recall its misbranded Enoki and that it has not, on information
and belief, notified a single purchaser that it sold misbranded Enoki illegally
packaged in Sun Hong packaging.

127. Utopia is a New York company, but its falsely packaged and Sun Hong-
branded Enoki has already been found in California, Maryland and Missouri, thereby
demonstrating that the Produce is involved in interstate commerce.

128. When a competing company willfully, falsely, and unlawfully sells into
the interstate stream of commerce Produce that steals or misappropriates the trade
dress of another company, the likelihood of damages is real and apparent.

129. Plaintiff Sun Hong has been damaged by Defendants actions in

wrongfully using Plaintiffs packaging.
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WHEREFORE, Plaintiffs pray for damages as set forth in the prayer below;
COUNT V

PACA Violation, Unfair Conduct and Misbranding
7 US.C. § 499a, et. seq. (Damages) (All Defendants)

| 130. Plaintiff Sun Hong re-alleges, adopts, and incorporates Paragraphs 1-
| 129 of this Complaint as though restated here in full.

131. PACA governs conduct of PACA registrants, of which both Utopia and
Sun Hong are, and prohibits misbranding and unfair conduct.

132. Utopia is a “Dealer” under PACA.

133. Defendants violated the PACA requirement that PACA dealers may not
make “for a fraudulent purpose, any false or misleading statement in connection with
any transaction involving any perishable agricultural commodity which is received
in interstate or foreign commerce by such dealer, or bought or sold, or contracted to
be bought, sold, or consigned, in such commerce by such dealer...” when Defendants
wrongfully, fraudulently, and intentionally used Sun Hong branded bags, which Sun
Hong is informed and believes Utopia converted, to sell Chinese grown Enoki
mushrooms without notice to, permission from, or an agreement with Sun Hong.

134. Defendants’ false or misleading statements as alleged herein were made
for the fraudulent purpose of, inter alia, influencing customer purchasing decisions
in a competitive Pan-Asian marketplace, disguising the identity of the U.S.

distributor, avoiding or limiting the negative impacts associated with the distribution

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of contaminated food products (i.e., personal injury litigation, recalls, bad press, etc.),
and undercutting competitor pricing by eliminating the need to pay for packaging.

135. Defendants’ false or misleading statements was its sale or distribution
of Chinese Enoki in the United States packaged in plastic bags identifying Sun Hong
as the distributor, not Defendants.

136. Defendants’ false or misleading statements were made on the face of the
product packaging used to sell and distribute fresh Enoki Mushrooms, which the
USDA recognizes as a covered commodity under PACA.

137. Defendants’ false or misleading statements regarding its sale of Enoki
mushrooms from China were made in connection with interstate or foreign commerce
because the Enoki itself originated or was produced in China and the product
packaging containing the false or misleading statement was discovered in California,
Missouri, Maryland, and other states.

138. Defendants further violated the PACA requirement that PACA dealers
must not fail, without reasonable cause, to perform any specification or duty, express
or implied, arising out of any undertaking in connection with any Produce
transaction.

139. Defendants knowingly and intentionally used Sun Hong branded bags,

without Sun Hong’s knowledge or consent.

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140. No just cause exists for Defendants to fail or refuse to comply with its |
duty to properly and truthfully label all Produce sold to third parties and distributed
across the nation.

141. No just cause exists for Defendants to fail or refuse to identify and
correct labeling issues affecting their Produce prior to its sale of said Produce to third
parties and its distribution of said Produce across the nation.

142. Utopia, and or its agents or assigns, willfully placed mislabeled and
misbranded Produce into the stream of interstate commerce, with no intention to
correct its mistake, in violation of 7 U.S.C.S. § 499b(4).

143. Defendants have failed to properly label or brand the Enoki mushrooms
which they are selling or distributing throughout the United States using Sun Hong
branded bags.

144. Sun Hong is entitled to damages under PACA for the wrongful actions
of Defendants in using the Sun Hong packaging without Sun Hong’s knowledge or
consent.

145. Defendants’ actions have caused Sun Hong damage to its sales,
reputation, and goodwill, and interfered with Sun Hong’s prospective and current
economic condition.

WHEREFORE, Plaintiffs pray for damages as set forth in the prayer below;

COUNT VI
False or Misleading Statements, Business Disparagement

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California False Advertising §17500
(Statutory Penalty and Restitution) (All Defendants)

146. Plaintiff Sun Hong re-alleges, adopts, and incorporates Paragraphs 1-
145 of this Complaint as though restated here in full.

147. Defendants sold enoki mushrooms wrongfully branded as Sun Hong
enoki mushrooms.

148. Utopia sold Chinese grown enoki mushrooms to grocery stores while
aware that Sun Hong label on the bags was false.

149. Utopia, and its agent and assigns knowingly and intentionally sold
mislabeled Produce, specifically mislabeling and identifying the wrong producer.

150. Plaintiffs are informed and believe that Utopia knowingly and
intentionally sold mislabeled Produce, specifically mislabeling and identifying the
wrong producer to the citizens of California, in order to mislead Californians into
believing that Sun Hong was the distributor of the Chinese grown Enoki mushrooms.

151. Defendants knew or should have known that the Chinese grown Enoki
mushrooms have a significant risk of being contaminated with the Listeria virus.

152. Defendants use of Sun Hong packaging misled California citizens into
believing that Sun Hong was distributing the Chinese grown Enoki mushrooms, and
therefore, when Sun Hong’s name was listed in FDA announcements concerning
Chinese grown Enoki mushrooms contaminated with the listeria virus, caused harm

to Plaintiff.

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WHEREFORE, Plaintiffs pray for damages as set forth in the prayer below:

COUNT VII
Unfair Business Practices- Business and Professions Code § 17200
(Statutory Penalty and Restitution) (All Defendants)

153. Plaintiff Sun Hong re-alleges, adopts, and incorporates Paragraphs 1-
152of this Complaint as though restated here in full.

154. Defendants’ actions in selling Chinese grown enoki mushrooms using
Sun Hong branded bags, without Sun Hong’s permission is an unlawful, and
fraudulent activity, under California’s laws of conversion, under the tenets of the |
Perishable Agricultural Commodities Act, and under the Lanham Act, among other
statutes.

155. Defendants’ actions in selling Chinese grown enoki mushrooms using

packaging which Sun Hong thought was destroyed is and was likely to mislead

| consumers as to the source, and distributor of the enoki mushrooms.

156. Defendants wrongful use of Sun Hong’s packaging violates several
laws, specifically and not limited to the Perishable Agricultural Commodities Act,
and the Lanham Act, both of which specifically prohibit the use of someone else’s
trade information, as a wrongful, unfair business practice.

157. Plaintiff was harmed by Defendants unfair business practices in using
Sun Hong’s packaging without Sun Hong’s permission or knowledge.

WHEREFORE, Plaintiffs pray for damages as set forth in the prayer below;

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COUNT VIII
Commercial Disparagement, Trade Libel, Slander of Goods
(Damages) (All Defendants)

158. Plaintiff Sun Hong re-alleges, adopts, and incorporates Paragraphs 1-
157 of this Complaint as though restated here in full.

159. Defendants made specific statements that Sun Hong was the distributor
of Chinese grown enoki mushrooms by selling Chinese grown enoki mushrooms
using Sun Hong branded packaging to third parties across the nation.

160. Plaintiffs are informed and believe that Defendants were aware that
there is a significant risk of Listeria in both Chinese grown Enoki mushrooms and
Enoki mushrooms in general.

161. Defendants, as nationwide sellers and distributors of fresh Enoki
mushrooms, should have known and been aware that there is a significant risk of
Listeria in both Chinese grown Enoki mushrooms and Enoki mushrooms in general.

162. Plaintiffs are informed and believe that Defendants intentionally sold
Chinese grown enoki mushrooms using Sun Hong packaging with the intent and
knowledge that doing so was likely to cause harm to Sun Hong, because of the high
likelihood of listeria in Chinese grown enoki mushrooms.

163. Plaintiffs are informed and believe that Defendants intentionally used
Sun Hong packaging, that Defendants knew that they had no right to use Sun Hong

packaging, that Defendants knew that Sun Hong had not grown, distributed or

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intended to distribute Chinese grown enoki mushrooms because of the risk of
Listeria, and that Defendants acted, in using the Sun Hong packaging identifying the
Chinese grown enoki mushrooms as Sun Hong product, with reckless disregard for
the truth of such identification.

164. Defendants distributed the Chinese grown enoki mushrooms using Sun
Hong branded packaging to third parties, specifically, to grocers and the public in
Missouri, Maryland, and California, as well as to other third parties.

165. Defendants knew, or should have known, that third parties, including
consumers, would act in reliance on the identification of the packaging as Sun Hong
produce, and that such action would cause Plaintiff financial harm and loss.

166. Defendants’ actions in using Sun Hong packaging was a substantial
factor in causing Plaintiff's harm and loss of economic benefit and good name.

WHEREFORE, Plaintiffs pray for damages as set forth in the prayer below;

COUNT IX
Negligence/Negligence Per Se Statutory Failure to Abide
(Damages, Referral, and Injunctive Relief) (All Defendants)

167. Plaintiff Sun Hong re-alleges, adopts, and incorporates Paragraphs 1-
166 of this Complaint as though restated here in full.

168. Defendants failed to exercise due care in the sale of Chinese grown
enoki mushrooms when they used Sun Hong branded bags without Sun Hong’s

permission or agreement.

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169. Defendant Utopia violated its duties of care created, established, or
identified in: (i) the FDCA, 21 U.S.C. § 301, ef. seg.; (11) PACA, 7 U.S.C. 499(b)(4)
& (5); Git) the Lanham Act, 15 U.S.C. § 1125, et. seg.; (av) California’s Unfair Trade

Practices Act, Cal. Bus. & Prof. Code § 17200, et. seg.; (v) California’s Statutory

 

Prohibition on False Advertising, Cal. Bus. & Prof. Code § 17500, et. seq., and (v1) |
California’s Sherman Law, Cal. Health & Saf. Code, § 110100, et. seq. |

170. The Federal Food, Drug, and Cosmetic Act (“FIDCA”) (21 U.S.C. § 301,
et. seq.) places a duty on Utopia, as an importer, seller, and distributor of a food
product, inter alia to (i) Label food such that the labeling is |
accurate in all particulars, 21 U.S.C. § 343(a); (1) Not offer for sale food under
“another name,” 21 U.S.C. § 343(b); (ii) Not imitate another food, 21 U.S.C. §
343(c); and (iv) Provide the truthful and accurate name and place of business of the
manufacturer, packer, or distributor, 21 U.S.C. § 343(e).

171. Utopia has violated its duty under the FDCA by selling into the stream
of interstate commerce Enoki mushrooms falsely labeled as Sun Hong mushrooms.

172. The Lanham Act § 1125(a) places a duty of Defendant Utopia that it
shall only sell Produce into interstate commerce that does not include false
designations of origin and false descriptions, and which is not misbranded. The
Lanham Act § 1125 and 1127 both place a duty on Utopia to not improperly use

without permission the trademark or trade dress of another.

173. Utopia has violated its duty under the Lanham Act by selling into the
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stream of interstate commerce Enoki mushrooms falsely labeled as Sun Hong
mushrooms, by using false descriptions and origin, and by infringing on Sun Hong’s
trademark and trade dress.

174. The Sherman Food, Drug, and Cosmetic Law (the “Sherman Law’’)
(California Health & Saf. Code, § 109875, et. seg.) broadly prohibits the misbranding
of food, which is defined as labeling that is false or misleading in any particular. The
Sherman Law incorporates all food labeling regulations and any amendments to those |
regulations adopted pursuant to the Federal Food, Drug, and Cosmetic Act (21 U.S.C.
§ 301 et seq.) as the food labeling regulations of California (Health & Saf. Code, §
110100, subd. (a)).

175. Specifically, The Sherman Law places a duty on Utopia to: (1) not forge,
counterfeit, simulate, falsely represent, or without proper authority use, any mark,
stamp, tag, label, or other identification device that is authorized or required by
regulations adopted pursuant to this part or the federal act, § 110300; (11) not place,
or cause to be placed upon any food, drug, device, or cosmetic, or its package, the
trade name or other identifying mark or imprint of another person or any likeness of
the trade name or other identifying mark or imprint of another person, § 110315; (111)
not sell, dispense, dispose of, hold, or conceal any food, drug, device, or cosmetic or
its package, with knowledge that the trade name or other identifying marks, imprint,
or likeness of the trade name or other identifying mark or imprint of another person

has been placed on the food, drug, device, or cosmetic or its package, § 110320; and
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(iv) not do any act that causes any food, drug, device, or cosmetic to be a counterfeit,
or to sell, dispense, or hold for sale or dispensing, the counterfeit food, drug, device,
or cosmetic, § 110330.

176. Utopia has violated its duties under the Sherman Law provisions § §
110300, § 110315, § 110320, 110330, by willfully and intentionally mislabeling and |
misidentifying its Enoki, and by forging, counterfeiting, simulating, falsely
representing, and/or without proper authority using Sun Hong’s brand, label, and
packaging.

177. Utopia has violated its duties under the Sherman Law by, with an intent
to deceive, stealing and/or counterfeiting Sun Hong’s trade name, trade dress,
packaging, and label.
| 178. Utopia has violated its duties under the Sherman Law by, with an intent
to deceive and without permission, using Sun Hong’s trade name, trade dress,
packaging, and label, and selling Produce in California that Utopia knew or should
have known was improperly labeled, packaged, and branded.

179. California’s Statutory Prohibition on False Advertising (Cal. Bus. &
Prof. Code § 17500, et. seg.) places a duty on Utopia to not sell Produce bearing any
“advertising device” that makes any “untrue or misleading” statement.

180. Utopia has violated Cal. Bus. & Prof. Code § 17500 et seq. by selling

into the stream of interstate commerce Enoki mushrooms falsely labeled, branded,

and packaged as Sun Hong mushrooms.
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181. The California Unfair Competition Law, Cal. Bus. & Prof. Code §
17200 ef seqg., places a duty on Defendant Utopia to not commit unfair business
practices, including the violation of applicable federal and state statutes. Cal. Bus.
& Prof. Code §§ 17200 and 17203.

182. Utopia has violated Cal. Bus. & Prof. Code § 17200 et seq. by selling
into the stream of interstate commerce Enoki mushrooms falsely labeled, branded,
and packaged as Sun Hong mushrooms, and by utilizing a trade dress identical to Sun
Hong’s trade dress.

183. Defendants’ actions in using the Sun Hong packaging without Sun
Hong’s knowledge or agreement violated the Lanham Act prohibition against
wrongful use of trade dress, the Perishable Agricultural Commodities Act prohibition
against false identification of goods, the Food Drug and Cosmetic Act prohibition
against misbranding and false labeling, and multiple other statutes.

184. These statutes each create a duty of care that Utopia must abide by.

185. Utopia knew or should have known that its use of Sun Hong-branded
packaging would violate each of these laws, confuse consumers and customers, and
harm Sun Hong.

186. Utopia knew or should have known that its use of Sun Hong-branded
packaging would cause injury to Sun Hong and to customers and consumers
throughout California and the United States.

187. Sun Hong suffered and continues to suffer damages from Defendants
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negligence.

188. Sun Hong is therefore entitled to damages pursuant to Defendants’
negligence per se under its statutory duty to abide.
WHEREFORE, Plaintiffs pray for damages as set forth in the prayer below;

COUNT X
Intentional Interference with Prospective Economic Advantage

(All Defendants)
189. Plaintiff Sun Hong re-alleges, adopts, and incorporates Paragraphs 1--

188 of this Complaint as though restated here in full.

190. Sun Hong and multiple distributors and other buyers of fresh Produce,
including Enoki mushrooms, were in an economic relationship which likely would
result in economic benefit or a continued economic benefit to Sun Hong.

191. As competitors in the various Pan-Asian markets for Enoki mushrooms
across the country, Defendants knew, or should have known, of the relationship
between Sun Hong and its distributors and other buyers of Produce, including Enoki
mushrooms.

192. Defendants used Sun Hong packaging, without Sun Hong’s permission
or knowledge, to distribute Chinese grown enoki mushrooms, with risk of Listeria
contamination.

193. Defendants knew or should have known that by wrongfully using Sun
Hong’s packaging without Sun Hong’s permission or knowledge that they would

disrupt Sun Hong’s relationship with its distributors and other buyers of Produce,

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| including Enoki mushrooms.

194. In fact, due to Defendants wrongful use of Sun Hong’s packaging, Sun
Hong has been identified by the FDA in more than one recall or health warning
involving Enoki mushrooms, due to risk of Listeria contamination or actual Listeria
contamination.

195. The FDA’s national health warnings and press releases identifying Sun
Hong, along with continued FDA investigation and audit of its operations, has
disrupted Sun Hong’s business relationships with its buyers and distributors of Sun
Hong Produce.

196. Sun Hong suffered losses and harm due to Defendants actions, and
continues to suffer loss and harm.

197. Defendants conduct, in wrongfully using Sun Hong packaging without
Sun Hong’s knowledge or permission, was a substantial harm in causing Sun Hong
damage and loss.

198. Defendants conduct was intentional, and Defendants actions, in
knowingly using Sun Hong branded Enoki mushroom bags without Sun Hong’s
permission or agreement, were actions undertaken with malice, oppression, and
fraud.

WHEREFORE, Plaintiffs pray for damages as set forth in the prayer below;

COUNT XI

Negligent Interference with Prospective Economic Advantage
All Defendants

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199. Plaintiff Sun Hong re-alleges, adopts, and incorporates Paragraphs 1-
198 of this Complaint as though restated here in full.

200. Sun Hong and multiple distributors and buyers of fresh Produce,
including Enoki mushrooms, were in an economic relationship which likely would
result in economic benefit to Sun Hong.

201. Defendants knew, or should have known, of the relationship between
Sun Hong and the distributors and buyers of fresh Produce, including Enoki
mushrooms.

202. Defendants used Sun Hong packaging, without Sun Hong’s permission
or knowledge to distribute Chinese grown Enoki mushrooms, with risk of Listeria
contamination.

203. Defendants knew or should have known that by wrongfully using Sun
Hong’s packaging without Sun Hong’s permission or knowledge that they would
disrupt Sun Hong’s relationship with distributors and buyers of fresh Produce,
including Enoki mushrooms.

204. In fact, due to Defendants wrongful use of Sun Hong’s packaging, Sun
Hong has been identified by the FDA in more than one recall or public health
advisory/warning involving Enoki mushrooms produced in China, due to risk of
Listeria contamination.

205. The public health advisory/warnings involving Enoki Mushrooms from

China, along with the FDA’s related investigation and audit of Sun Hong, has
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disrupted Sun Hong’s relationships with sellers, buyers, and distributors of Sun Hong
Produce.

206. Sun Hong suffered loss, and harm due to Defendants actions.

207. Defendants conduct, in wrongfully using Sun Hong packaging without
Sun Hong’s knowledge or permission was a substantial harm in causing Sun Hong
damage and loss.

WHEREFORE, Plaintiffs pray for damages as set forth in the prayer below;

COUNT XI

Injunctive Relief
(All Defendants)

208. Plaintiff Sun Hong re-alleges, adopts, and incorporates Paragraphs 1--
207 of this Complaint as though restated here in full.

209. The Federal Food, Drug, and Cosmetic Act (“FFDCA”) (21 U.S.C. § 301,
et. seq.), the Perishable Agricultural Commodities Act (“PACA”) (7 U.S.C. 499(b)(4)
& (5)), the Lanham Act (15 U.S.C. § 1125, et. seg.), California’s Unfair Trade
Practices Act (Cal. Bus. & Prof. Code § 17200, et. seg.), California’s Statutory
Prohibition on False Advertising (Cal. Bus. & Prof. Code § 17500, et. seg.), and
California’s Sherman Law (Cal. Health & Saf. Code, § 110100, et. seq.) all provide
for injunctive relief to stop inappropriate activities under the individual statutes.

210. Defendants have violated the various requirements against fraudulent
labeling, false use of name and related prohibitions identified in each of the statutes

identified above, by selling Chinese sourced Enoki mushrooms using Sun Hong’s
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packaging without Sun Hong’s knowledge or permission.

211. Defendants wrongful use of Sun Hong’s packaging, and continuing
wrongful use of Sun Hong’s packaging, has harmed, and continues to harm, Sun
Hong, subjecting Sun Hong to FDA activities, putting Sun Hong’s name out in
nationwide public health advisories and warnings regarding Chinese grown Enoki |
mushrooms due to Listeria contamination and related matters.

212. Defendants’ actions are causing Sun Hong immediate and irreparable
harm, which can only be remedied by equitable action on the part of this Court.

WHEREFORE, Plaintiffs pray for damages as set forth in the prayer below;

PRAYER

WHEREFORE, Plaintiff prays for judgment against Defendants, and each of
them, as follows:

1. As to Counts 1, 2, 3, 4, 5, 8, 9, 10, and 11 — For damages in a sum
according to proof, including sums paid for loss of profits, and damages;

2. As to Counts 6 and 7, fines for each violation and occurrence in the
amount set by statute and as determined by the Court;

3. As to Counts, 2, 3, 4, 5, 8, and 12, for declaratory relief, including
injunction, and or whatever equitable relief is necessary, appropriate as determined
by the Court;

4. As to Counts 1, 8, 9, 10, and 11, for punitive damages in a sum according

to proof;
Al

 

 
Dated: January 27, 2023
KLINOWSKI DAMIANO
By: Jason R. Klinowski, Esq.

Jason R. Klinowski, Esq.
(Pro Hac Vice Forthcoming)

 

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>. As to Counts 2, 3, 4, and 5, treble damages in a sum according to proof;

6. For costs incurred herein:

7. For attorney’s fees as provided for by statute, in a sum according to
proof; and

8. For such other and further relief as the Court deems proper and
appropriate.

Respectfully submitted,
DIEMER & WEI, LLP

By: Kathryn S. Diemer, Es
Kathryn S. Diemer, Esq.

 

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